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  In the United States Court of Federal Claims
                                 OFFICE OF SPECIAL MASTERS
                                         No. 21-161V
                                        UNPUBLISHED


 BALTAZAR PEDRAZA,                                          Chief Special Master Corcoran

                        Petitioner,                         Filed: June 23, 2022
 v.
                                                            Special Processing Unit (SPU);
 SECRETARY OF HEALTH AND                                    Ruling on Entitlement; Concession;
 HUMAN SERVICES,                                            Table Injury; Influenza (Flu) Vaccine;
                                                            Shoulder Injury Related to Vaccine
                       Respondent.                          Administration (SIRVA)


Paul R. Brazil, Muller Brazil, LLP, Dresher, PA, for Petitioner.

Ronalda Elnetta Kosh, U.S. Department of Justice, Washington, DC, for Respondent.

                                   RULING ON ENTITLEMENT 1

         On January 6, 2021, Baltazar Pedraza filed a petition for compensation under the
National Vaccine Injury Compensation Program, 42 U.S.C. §300aa-10, et seq. 2 (the
“Vaccine Act”). Petitioner alleges that he suffered a Table injury – Shoulder Injury Related
to Vaccine Administration (“SIRVA”) – as a result of his September 25, 2019 influenza
(“flu”) vaccine. Petition at 1. Petitioner further alleges that he suffered the residual effects
of his injury for more than six months, and that there has been no prior award or
settlement of a civil action on his behalf as a result of his injury. See Petition, ¶¶ 6-8. The
case was assigned to the Special Processing Unit of the Office of Special Masters.

       On June 21, 2022, Respondent filed his Rule 4(c) report in which he concedes that
Petitioner is entitled to compensation in this case. Respondent’s Rule 4(c) Report at 1, 5.

1 Because this unpublished Ruling contains a reasoned explanation for the action in this case, I am required

to post it on the United States Court of Federal Claims' website in accordance with the E-Government Act
of 2002. 44 U.S.C. § 3501 note (2012) (Federal Management and Promotion of Electronic Government
Services). This means the Ruling will be available to anyone with access to the internet. In accordance
with Vaccine Rule 18(b), Petitioner has 14 days to identify and move to redact medical or other information,
the disclosure of which would constitute an unwarranted invasion of privacy. If, upon review, I agree that
the identified material fits within this definition, I will redact such material from public access.

2 National Childhood Vaccine Injury Act of 1986, Pub. L. No. 99-660, 100 Stat. 3755. Hereinafter, for ease

of citation, all section references to the Vaccine Act will be to the pertinent subparagraph of 42 U.S.C. §
300aa (2012).
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Specifically, Respondent indicates that it is his

       position that petitioner has satisfied the criteria for SIRVA set forth in the
       Vaccine Injury Table and the Qualifications and Aids to Interpretation, which
       afford petitioner the presumption of causation, because petitioner had no
       history of pain, inflammation, or dysfunction in his right shoulder; his pain
       occurred within 48 hours of receipt of an intramuscular vaccination; his pain
       and reduced range of motion were limited to the shoulder in which the
       vaccine was administered; and no other condition or abnormality was
       identified to explain his symptoms. 42 C.F.R. § 100.3(a), (c)(10).

Id. at 6-7. Respondent further agrees that “the statutory six-month sequelae requirement
has been satisfied. See 42 U.S.C. § 300aa-11(c)(D)(I).” Id. at 7.

       In view of Respondent’s position and the evidence of record, I find that
Petitioner is entitled to compensation.

      IT IS SO ORDERED.

                                                        s/Brian H. Corcoran
                                                        Brian H. Corcoran
                                                        Chief Special Master




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